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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: 1:20-cv-24649-AMC
ELIE NEHME,
Plaintiff,
VS.

FLORIDA INTERNATIONAL UNIVERSITY
BOARD OF TRUSTEES,

Defendant.
j

DEFENDANT’S MOTION TO TAX COSTS

Defendant, FLORIDA INTERNATIONAL UNIVERSITY BOARD OF TRUSTEES
(“FIU”), by and through undersigned counsel, pursuant to Federal Rule of Civil Procedure 54, and
Southern District of Florida Rule 7.3, hereby moves for entry of an order taxing costs upon the
following grounds:

1. This is a civil rights action alleging discrimination on the basis of disability for wrongful
dismissal and failure to provide reasonable accommodations in which FIU was granted summary
judgment on all counts of Plaintiff’s Amended Complaint. [ECF No. 90]. A Final Judgment was
subsequently filed by the Court. [ECF No. 91].

2. The undersigned law firm was retained to represent FIU. This defense included covering
costs incurred to defeat the allegations in the Amended Complaint on FIU’s Motion for Summary
Judgment. This case required development of a comprehensive record involving eleven (11)
depositions and extensive written discovery. The case involved three (3) separate oral arguments
on the merits of the case including a motion to dismiss, the motion for summary judgment before

Magistrate Otazo-Reyes, and another hearing on the objection to the report and recommendation
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as well as the motion for summary judgment before this Honorable Court. The Defendant also had
to prepare as if trial was proceeding.
3. Pursuant to28 USC §1920, Rule 54(d), and S.D. Fla. Local Rule 7.3, the Defendant should
' receive an award reimbursing costs. The presumption is in favor of the award of costs, particularly
where Congress has provided for the imposition of such costs. Arcadian Fertilizer, L.P. v. MPW
Indus. Servs. Inc., 249 F.3d 1293, 1296 (11th Cir. 2001). The total amount of costs that should be
awarded to the Defendant is in the amount of $10,850.43. A Bill of Costs, Form AO133, consistent
with the S.D. Fla. Local Rules is attached hereto as Exhibit A.
4. An itemization of the taxable costs, along with copies of the invoices, are attached hereto
as Composite Exhibit B. The original invoices are available for inspection.
5. The undersigned has fully reviewed the billing file and documentation verifying the
itemization in this Motion to Tax Costs. The costs associated with the service of subpoenas, court
reporter, exemplification charges, witness fees, and clerk fees were necessarily obtained for use in
this case. 28 U.S.C. § 1920(4); EEOCyv. W & O, Inc., 213 F.3d 600, 622-23 (11th Cir. 2000). This
Motion is justified and appropriate under the circumstances. Additionally, the Bill of Costs is
reasonable and has a sound factual basis. FIU requests this Court enter an Order awarding
statutorily mandated costs.
6. In accordance with Local Rule 7.3, the undersigned’s office conferred with Plaintiff’s
counsel, Roderick Hannah, Esq., via email on November 30, 2022, providing an explanation of
the basis for the relief sought herein, a draft copy of this motion, and a Bill of Costs. Mr. Hannah
opposes the relief sought on the entitlement to costs and the amount determination because it

should be deferred or stayed pending resolution of Plaintiff’s appeal.

MEMORANDUM OF LAW

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“Unless a federal statute, these rules, or a court order provides otherwise, costs — other than
attorney’s fees — should be allowed to the prevailing party.” Fed. R. Civ. P. 54(d)(1). The taxable
costs allowable to Defendant under Rule 54(d)(1) are limited to those authorized by Congress. 28
U.S.C. § 1920 sets forth the allowable costs and provides as follows:

A judge or clerk of any court of the United States may tax as costs the following:

(1) Fees of the clerk and marshal;
(2) Fees for printed or electronically recorded transcripts necessarily
obtained for use in the case;

(3) Fees and disbursements for printing and witnesses;

(4) Fees for exemplification and the costs of making copies of any materials
where the copies are necessarily obtained for use in the case;

(5) Docket fees under section 1923 of this title;

(6) Compensation of court appointed experts, compensation of interpreters,
and salaries, fees, expenses, and costs of special interpretation services
under section 1828 of this title.

A bill of costs shall be filed in this case and, upon allowance included in the
judgment or decree.

See 28 U.S.C. §1920.
The costs incurred were reasonable and necessary to defend the counts against the

Defendant. This Court should therefore grant the taxation of costs because the Defendant was the
prevailing party to the matter.

WHEREFORE, based upon the foregoing, the Defendant, FLORIDA INTERNATIONAL
UNIVERSITY BOARD OF TRUSTEES, requests this Honorable Court enter an Order granting

costs.

VERIFICATION

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BEFORE ME, this day personally appeared LOURDES ESPINO WYDLER, who first
being duly sworn, deposes and says that she has fully reviewed the data supporting this Motion to

Tax Costs and the billing file and that the motion is justified and based in fact.

FURTHER AFFIANT SAYETH NOT.

Mg t me, Es
Notary Publi¢, State of Florida

My Commission Expires: [0 / 4] / oe

I HEREBY CERTIFY that on this 2nd day of December, 2022, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
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document is being served this day on all counsel of record or pro se parties identified on the
attached Service List in the manner specified, either via transmission of Notices of Electronic
Filing generated by CM/ECF or in some other authorized manner for those counsel or parties who

are not authorized to receive electronically Notices of Electronic Filing.

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